       Case 2:18-cv-00309-DLR Document 23 Filed 12/21/18 Page 1 of 2



 1
 2
 3
 4
 5
 6                       IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   Nick Fisher,                                        No. CV-18-00309-PHX-DLR
10                  Plaintiff,                           ORDER
11   v.
12   One Way Funding LLC,
13                  Defendant.
14
15
16          Before the Court is Plaintiff’s Motion for Default Judgment, For Class Certification,
17   and for Leave to Conduct Discovery. (Doc. 17.) The Court held a hearing on the motion
18   on December 20, 2018, during which the Court advised Plaintiff that it would grant his
19   request for leave to conduct discovery but would defer consideration of the default
20   judgment and class certification issues until after such discovery is complete. Discovery
21   will provide a clearer picture of the size of the potential class and better guide Plaintiff in
22   crafting an appropriate class notice, should the Court ultimately grant a motion for class
23   certification. After discussing the matters with the Court, Plaintiff orally agreed to
24   withdraw his current motions for default judgment and class certification without prejudice
25   to those motions being renewed after discovery. Accordingly,
26          IT IS ORDERED that Plaintiff’s Motion for Default Judgment, For Class
27   Certification, and for Leave to Conduct Discovery (Doc. 17) is GRANTED in part and
28   WITHDRAWN in part, as follows:
     Case 2:18-cv-00309-DLR Document 23 Filed 12/21/18 Page 2 of 2



 1       1. Plaintiff’s motion for leave to conduct limited discovery is GRANTED.
 2          Plaintiff shall have 120 days from the date of this order in which to conduct
 3          limited discovery into his potential class allegations.      Plaintiff may serve
 4          subpoenas upon the telephone service providers(s) of the following telephone
 5          numbers: 631-239-8720, 631-239-8731, and 516-203-7559. Plaintiff may also
 6          serve written discovery requests upon Defendant One Way Funding, LLC.
 7       2. Plaintiff’s oral motion, made during the December 20, 2018 hearing, to
 8          withdraw his motion for default judgment and motion for class certification
 9          without prejudice to renewing those motions after the completion of discovery
10          is GRANTED. Those portions of the motion are deemed WITHDRAWN.
11       3. Plaintiff shall separately renew his motion for class certification and motion for
12          default judgment by no later than May 15, 2019, if he still wishes to pursue them
13          after completing discovery.
14       4. If the Court grants a renewed motion for class certification, Plaintiff shall have
15          60 days from the date of that ruling to prepare and submit a proposed notice to
16          potential class members pursuant to Federal Rule of Civil Procedure 23(c)(2)(B).
17       Dated this 21st day of December, 2018.
18
19
20
21
                                                Douglas L. Rayes
22                                              United States District Judge
23
24
25
26
27
28


                                             -2-
